                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

 UNITED STATES OF AMERICA,                               )
                                                         )       SEALED
                         Plaintiff,                      )
                                                         )       No. 3:10-CR-149
 V.                                                      )       (PHILLIPS/GUYTON)
                                                         )
 GARY A. HAWKINS,                                        )
                                                         )
                         Defendant.                      )


                    ORDER OF REVOCATION OF PRETRIAL RELEASE
                                AND DETENTION

                 The above-named defendant, Gary Hawkins (“Hawkins”) appeared before the

 undersigned on December 21 and 22, 2011, for a hearing on a Petition for Action on Conditions of

 Pretrial Release (“the Petition”) [Doc. 530]. Assistant United States Attorney Jennifer Kolman was

 present representing the government.        Attorney Mike Whalen was present representing the

 defendant. The government moved for detention, and the defendant requested a hearing.

                 The defendant Hawkins was placed on pretrial release on November 17, 2010,

 pursuant to an Order [Doc. 32] of this Court. The defendant’s release was subject to certain

 conditions, including but not limited to, the following: that he not violate any federal, state or local

 law; that he refrain from any use of alcohol and that he participate in a program of substance abuse

 therapy and counseling if instructed to do so by the probation officer [Doc. 32].

                 In the Petition, United States Probation Officer Melissa Haduck (“Haduck”) states

 that Hawkins, on February 7, 2011, plead guilty to a charge of public intoxication. The Petition

 further states that on November 21, 2011, Hawkins plead guilty to another charge of public

 intoxication.

                 At the hearing, Hawkins admitted that these allegations of the Petition are true.

 Therefore, the Court finds the allegation of non-compliance by the probation officer to be credible




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 and not contradicted by the defendant.

                The Court finds that Hawkins knowingly and intentionally violated Conditions 1 and

 8 of his conditions of release [Doc. 32]. The Court finds, by clear and convincing evidence, that

 Hawkins poses a serious risk of danger to the community due to excessive alcohol use, and that no

 condition or combination of conditions will reasonably assure the safety of the community if the

 defendant were to remain on bond. Moreover, the defendant has demonstrated through the two

 convictions noted above that he is not likely to abide by reasonable conditions of release.

                Accordingly, the Order Setting Conditions of Release [Doc. 32] is hereby

 REVOKED and the defendant is remanded to the custody of the United States Marshal pending

 further proceedings in this case.

                IT IS SO ORDERED.

                                                       ENTER:


                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




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